                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR16-3037-LTS
 vs.                                                            ORDER
 TROY McGEE,
                Defendant.
                                 ____________________

                                   I. BACKGROUND

        On October 20, 2016, defendant was charged in Counts 1 and 3 of a three-count
indictment. On May 9, 2017, defendant appeared before the Honorable Kelly K.E.
Mahoney, United States Magistrate Judge, and entered a plea of guilty to Count 1 of the
indictment. On May 9, 2017, Judge Mahoney filed a Report and Recommendation (R&R)
in which she recommended that defendant’s guilty plea be accepted. Doc. No. 67. No
objections to the R&R were filed. I therefore undertake the necessary review of Judge
Mahoney’s recommendation to accept defendant’s plea in this case.


                             II. APPLICABLE STANDARDS
        A district judge must review a magistrate judge’s R&R in a criminal case under the
following standards:
        Within fourteen days after being served with a copy, any party may serve
        and file written objections to such proposed findings and recommendations
        as provided by rules of court. A judge of the court shall make a de novo
        determination of those portions of the report or specified proposed findings
        or recommendations to which objection is made. A judge of the court may
        accept, reject, or modify, in whole or in part, the findings or
        recommendations made by the magistrate judge. The judge may also receive
        further evidence or recommit the matter to the magistrate judge with
        instructions.



       Case 3:16-cr-03037-LTS-KEM      Document 74      Filed 05/24/17    Page 1 of 3
28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                     III. DISCUSSION
       Because neither party objects to the R&R, I have reviewed it for clear error. Based
on that review, I am not “left with the definite and firm conviction that a mistake has been
committed.” Anderson, 470 U.S. at 573-74. As such, I hereby accept the R&R without
modification and accept defendant’s plea of guilty in this case as to Count 1 of the
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indictment.


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           United States v. Cortez-Hernandez, --- F. App’x ---, 2016 WL 7174114 (8th Cir. Dec.
                                                                                 (continued...)

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    Case 3:16-cr-03037-LTS-KEM           Document 74       Filed 05/24/17    Page 2 of 3
       IT IS SO ORDERED.
       DATED this 24th day of May, 2017.




                                             ___________________________
                                             Leonard T. Strand, Chief Judge




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        (...continued)
9, 2016) (per curiam), suggests that a defendant may have the right to de novo review of a
magistrate judge’s recommendation to accept a plea of guilty even if no objection is filed. But see
28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). I will undertake a de novo review of the R&R
if a written request for such review is filed within seven (7) days after this order is filed.

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     Case 3:16-cr-03037-LTS-KEM           Document 74        Filed 05/24/17      Page 3 of 3
